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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )          4:09CR3044
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )          ORDER
HEATHER HRUBY,                               )
                                             )
                    Defendant.               )

      IT IS ORDERED that:

      (1)    The government’s request for hearing (filing 241) is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 235) has been set before the undersigned United States district judge on
Wednesday, July 20, 2011, at 1:00 p.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)     At the request of the defendant through her counsel, the defendant will
participate in the hearing by telephone.

      (4)    The Marshal is directed not to return the defendant to the district.

      (5)    The defendant is held to have waived her right to be present.

      Dated June 21, 2011.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
